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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF OHIO
                            WESTERN DIVISION

BARBARA GRAY                                  )
2486 Edgewater Drive, Apt. 2                  )   Case No: 3:13-CV-306
Beavercreek, Ohio 45431                       )
                                              )   JURY DEMAND REQUESTED
              Plaintiff,                      )
                                              )   VERIFIED CIVIL COMPLAINT
      v.
                                              )   (Unlawful Debt Collection Practices)
                                              )
INTEGRITY FINANCIAL PARTNERS,                 )
INC.                                          )
c/o CSC-Lawyers Incorporating Service         )
(Corporation Service Company)                 )
50 W. Broad Street, Suite 1800                )
Columbus, Ohio 43215,                         )
                                              )
              Defendant.
                               VERIFIED COMPLAINT

       PLAINTIFF, Barbara Gray (Plaintiff), by her attorneys, KAHN AND
ASSOCIATES, L.L.C., alleges the following against DEFENDANT, Integrity Financial
Partners, Inc. (Defendant):

                                  INTRODUCTION

  1. Plaintiff’s Complaint is based on the Fair Debt Collection Practices Act, 15

      U.S.C. 1692 et seq. (FDCPA).

                           JURISDICTION AND VENUE

   2. Jurisdiction of this court arises pursuant to 15 U.S.C. 1692k(d), which states that

      such actions may be brought and heard before “any appropriate United States

      district court without regard to the amount in controversy,” and 28 U.S.C. 1367

      grants this court supplemental jurisdiction over the state claims contained therein.

   3. Because Defendant conducts business in Ohio, personal jurisdiction is

      established.
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 4. Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

                                      PARTIES

 5. Plaintiff is a natural person who resides in the City of Beavercreek, Greene

     County, Ohio and is allegedly obligated to pay a debt, and Plaintiff is a

     “consumer” as that term is defined by 15 U.S.C. 1692a(3).

        a. Pursuant to the definitions outlined in 15 U.S.C. 1692a(1-6),Defendant is

            a debt collector and sought to collect a consumer debt from Plaintiff

            which was allegedly due and owing from Plaintiff, and Plaintiff is a

            consumer debtor.

 6. Defendant is a Kansas Corporation and debt collector with an office in Overland

     Park, Kansas.

 7. Defendant uses instrumentalities of interstate commerce or the mails in any

     business the principal purpose of which is the collection of any debts, or who

     regularly collects or attempts to collect, directly or indirectly, debts owed or due

     or asserted to be owed or due another and is a "debt collector" as that term is

     defined by 15 U.S.C. § 1692a(6).

 8. Defendant is a collection agency that in the ordinary course of business,

     regularly, on behalf of itself or others, engages in debt collection.

                           FACTUAL ALLEGATIONS

 9. Defendant is seeking to collect from Plaintiff a consumer debt that was incurred

     for personal, family, or household purposes.         Upon information and belief,

     Defendant is seeking to collect student loan obligations that Plaintiff is alleged to

     have co-signed on behalf of her daughter Jennifer Gray.
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   10. Plaintiff agreed to a payment plan with Defendant whereby she would pay $50.00

       per month towards the debt. However, Defendant has withdrawn $55.00 from

       Plaintiff’s account, in violation of the payment plan agreement. Defendant has

       refused to refund the monies and has told Plaintiff she should put $5.00 extra in

       her account to cover the extra charge.

   11. Plaintiff believes Defendant is seeking to collect for other loans she did not co-

       sign for on her daughter’s behalf and has requested Defendant provide Plaintiff

       with documents verifying Plaintiff actually is obligated to pay the debts

       Defendant asserts she co-signed for. Defendant refuses to provide Plaintiff with

       any verification or validation of the underlying obligations, asserting that because

       Plaintiff only co-signed for the debt, she is not entitled to any such verification.

   12. Defendant’s statements and refusal to provide the requested verification are

       deceptive and misleading.

                                         COUNT I

DEFENDANT VIOLATED THE FAIR DEBT COLLECTION PRACTICES ACT

   13. Defendant violated the FDCPA based on the following:

           a. Defendant violated §1692e(10) by the use of any false representation or

              deceptive means to collect or attempt to collect a debt or obtain

              information concerning a consumer.

           b. Defendant violated §1692f by using any unfair or unconscionable means

              to collect or attempt to collect a debt.

       WHEREFORE, Plaintiff, Barbara Gray, respectfully requests judgment be entered

against Defendant, for the following:
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 14. Statutory damages of $1000.00 pursuant to the Fair Debt Collection Practices

     Act, 15 U.S.C. 1692k,

 15. Costs and reasonable attorneys’ fees pursuant to the Fair Debt Collection

     Practices Act, 15 U.S.C. 1692k

 16. Any other relief that this Honorable Court deems appropriate.

                           DEMAND FOR JURY TRIAL

     Plaintiff, Barbara Gray, requests a jury trial in this case.

                                             RESPECTFULLY SUBMITTED,

                                             KAHN & ASSOCIATES, L.L.C.

                                             _/s/ J. Daniel Scharville_____________
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